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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 14-cv-01295-LTB

RAYMOND LARA,

      Applicant,

v.

PEOPLE OF THE UNITED STATES,

      Respondent.


                                     JUDGMENT


      Pursuant to and in accordance with the Order of Dismissal entered by Lewis T.

Babcock, Senior District Judge, on June 20, 2014, it is hereby

      ORDERED that Judgment is entered in favor of Respondent and against

Applicant.

      DATED at Denver, Colorado, this 20yh day of June, 2014.

                                        FOR THE COURT,

                                        JEFFREY P. COLWELL, Clerk



                                        By: s/K Lyons
                                            Deputy Clerk
